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5

6    Counsel for Creditors Joel Vangheluwe and Jerome Vangheluwe

7
                            IN THE UNITED STATES BANKRUPTCY COURT
8
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
9                                    LOS ANGELES DIVISION

10   In re:                                         Case No.: 2:19-bk-14693-BR

11                                                  Chapter 7
     GOT NEWS, LLC;
12
                Debtor.                             RESPONSE TO MOTION FOR ORDER
13                                                  SUSTAINING THE TRUSTEE’S OBJECTION
                                                    TO PROOF OF CLAIM #4 FOR LACKING
14                                                  SUFFICIENT EVIDENTIARY
                                                    DOCUMENTATION; REQUEST FOR
15                                                  JUDICIAL NOTICE; MEMORANDUM OF
                                                    POINTS AND AUTHORITIES;
16                                                  DECLARATION IN SUPPORT THEREOF
                                                    [FED. R. BANK. P. 3007]
17
                                                    [Order lodged concurrently with filing of
18
                                                    stipulation]
19
                                                    Current Hearing
20                                                  Date: January 10, 2023
                                                    Time: 10:00 a.m.
21                                                  Place: U.S. Courthouse
                                                            Courtroom 1668
22                                                          255 E. Temple St.
                                                            Los Angeles, CA 90012
23

24
                                                    Proposed Hearing
25                                                  Date: January 31, 2023
                                                    Time: 10:00 a.m.
26                                                  Place: U.S. Courthouse
                                                            Courtroom 1668
27                                                          255 E. Temple St.
                                                            Los Angeles, CA 90012
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     TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE
3
     AND OTHER INTERESTED PARTIES:
4
            Comes now Joel Vangheluwe (“Creditor” or “Vangheluwe”), responding to the motion for
5

6    issuance of an order of the Court which sustains the Trustee’s objections to the following

7    defamation claim of Joel Vangheluwe, who was falsely accused by Got News, LLC of assault,
8
     terrorism, conspiracies, murder, and racially charged violence.
9
            The Debtor filed a voluntary Chapter 7 petition on April 24, 2019 (the “Petition Date”).
10
            Joel Vangheluwe filed his Proof of Claim on August 12, 2019 for $800,000.00. This is
11

12   Claim #4.

13          After three years passed, the Trustee objected to Proof of Claim #4. The amount proposed
14
     by the Trustee is not equitable, as the Got News, LLC article identified Joel Vangheluwe as the
15
     person in possession of the vehicle in the Charlottesville attack.
16
            Joel’s father, Jerome Vangheluwe, was not directly identified as the terrorist by Got News,
17

18   LLC. He was identified as the owner of the vehicle. Accordingly, he accepted the offer of the

19   judgement by the debtor for $19,990. That claim of Jerome Vangheluwe is not in dispute.
20
            The Trustee does not appear to dispute that Joel Vangheluwe was defamed; instead, the
21
     Trustee appears to dispute the dollar amount associated with his defamation claim. The Second
22
     Amended Complaint filed in the Eastern District of Michigan was never adjudicated precisely
23

24   because Got News, LLC filed for bankruptcy. Joel Vangheluwe’s claim is properly valued at

25   $800,000.00.
26
            WHEREFORE, Joel Vangheluwe respectfully requests that the Trustee’s objection to
27
     Claim #4 be overruled following the evidentiary hearing.
28




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1         Dated: December 27, 2022.
2
                                               SOMMERMAN, MCCAFFITY,
3                                              QUESADA & GEISLER, L.L.P.

4
                                                /s/ Andrew B. Sommerman
5

6                                              Andrew B. Sommerman

7                                               ATTORNEY FOR CREDITORS JEROME
                                               VANGHELUWE AND JOEL VANGHELUWE
8

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1                         MEMORANDUM OF POINTS AND AUTHORITIES
2
             LBR 3007-1 states “an objection to claim is a ‘contested matter’ under FRBP 9014.” LBR
3
     3007-1(a). As the Trustee has pointed out, Claim #4 was supported by the Second Amended
4
     Complaint filed in the Eastern District of Michigan, which includes as Exhibit A the actual
5

6    defamatory article published by Got News, LLC. The underlying lawsuit was not fully adjudicated

7    precisely because Got News, LLC filed for bankruptcy.          Testimony will be provided at the
8
     evidentiary hearing to further establish the amount of Joel Vangheluwe’s claim.
9
             “Upon objection, the proof of claim provides ‘some evidence as to its validity and amount’
10
     and is ‘strong enough to carry over a mere formal objection without more.’ Lundell v. Ancho Const.
11

12   Specialists, Inc., 223 F.3d 1035 (9th Cir. 2000). Moreover, the Ninth Circuit has already held that

13   alleged lack of documentation is not always a basis for disallowing claims. In re Heath, 331 B.R.
14
     424 (9th Cir. 2005). The Trustee highlights that Jerome, the father, accepted an offer of judgment
15
     for $19,990 for his claim against Got News, LLC. However, Jerome was merely identified as the
16
     owner of the vehicle; not the terrorist accused of racially charged violence, like Joel. The Trustee
17

18   also highlights that both accepted an offer of judgment from Charles Johnson for $4,990. The

19   claims against Charles Johnson did not have the same evidentiary support as the one against Got
20
     News, LLC. Said differently, Got News, LLC disclosed someone other than Charles Johnson as
21
     the author of the article.
22
             Should the Court find that the Trustee meets his initial burden, then testimony will be
23

24   provided at the evidentiary hearing to further establish the amount of Joel Vangheluwes’ claim.

25

26
             Dated: December 27, 2022.
27

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1                                                       SOMMERMAN, MCCAFFITY,
                                                        QUESADA & GEISLER, L.L.P.
2

3
                                                         /s/ Andrew B. Sommerman
4
                                                        Andrew B. Sommerman
5

6                                                        ATTORNEY FOR CREDITORS JEROME
                                                        VANGHELUWE AND JOEL VANGHELUWE
7

8

9
                                    CERTIFICATE OF SERVICE
10
            The undersigned hereby certifies that a true and correct copy of the foregoing was served
11

12   according to the Federal Rules of Bankruptcy Procedure via electronic notice through the Court’s

13   ECF system.
14

15

16                                                       /s/ Andrew B. Sommerman
17
                                                        Andrew B. Sommerman
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3811 Turtle Creek Blvd., Suite 1400, Dallas, TX 75219

                                                                       Response to Motion for Order Sustaining the
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Trustee's Objection to Proof of Claim #4 for Lacking Sufficient Evidentiary Documentation; Request for Judicial Notice;
________________________________________________________________________________________________
 Memorandum of Points and Authorities; Declaration in Support Thereof [Fed. R. Bank. P. 3007]
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
12/27/2022
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  wes@averytrustee.com; C117@ecfcbis.com; lucy@averytrustee.com; lupe@averytrustee.com;
  msardaryan@skiermontderby.com; mjung@skiermontderby.com; ecf@randazza.com; larry@lsimonslaw.com;
  simonsecf@gmail.com; simonslr44533@notify.bestcase.com; jtedford@danninggill.com; danninggill@gmail.com;
  jtedford@ecf.courtdrive.com; ustpregion16.la.ecf@usdoj.gov
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              12/27/2022
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Debtor Got News, LLC - 5812 Temple City Blvd. #402, Temple City, CA 91780
   Hon. Barry Russell, USBC, 255 E. Temple Street #1660, Los Angeles, CA 90012



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/27/2022         Jody L. Rodenberg                                                           /s/ Jody L. Rodenberg
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
